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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                         Case No. 1:19-cv-02443-RDM

          v.

 JONES DAY, STEPHEN J. BROGAN,
 BETH HEIFETZ, and JOHN DOES 1-10,

      Defendants.



          [PROPOSED] “ATTORNEYS’ EYES ONLY” PROTECTIVE ORDER

       Upon consideration of the parties’ submissions regarding Plaintiffs’ proposed “Attorneys’

Eyes Only” order, the Court hereby ORDERS:

       “Attorneys’ Eyes Only” Designation. Any party or non-party may designate as “Attorney’s

Eyes Only” any Discovery Material it produces that the designating party reasonably believes

contains information about current or former Jones Day employees (other than a Party) that, if

known to Jones Day leadership, would be likely to materially impair the employees’ relationship

with Jones Day. Such materials are subject to the restrictions imposed on “Highly Confidential”

materials, except that they must not be shared with or viewed by any individual who is, was, or is

reasonably anticipated to be a member of Jones Day’s leadership (regardless of whether such

individual is involved in the representation of Defendants in this Action, is named as a Defendant,

or would otherwise be permitted to view the materials under the restrictions on “Highly

Confidential” materials). For purposes of this Order, Jones Day’s leadership includes its managing

partner, individuals who advise the managing partner with respect to the management of Jones
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Day, partners in charge, practice group leaders, deputies of the foregoing positions, individuals

who participate in compensation and advancement decisions, and other individuals who hold

comparable roles, whether formal or informal. Any individual with whom such materials are

shared shall maintain the confidentiality of the materials and of the identities of the employees

involved, consistent with the purposes of this provision. A Party who files such materials shall

comply with the procedure below regarding filing provisionally under seal.




       So ordered on this day, ___________________.



                                                         ________________________________
                                                                      Hon. Randolph D. Moss
                                                                   United States District Judge




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                  LIST OF NAMES AND ADDRESSES OF ALL PERSONS
                 ENTITLED TO BE NOTIFIED OF THE ORDER’S ENTRY
       Pursuant to Local Civil Rule 7(k), the following is a list of the names and addresses of all

persons entitled to be notified of this order’s entry:


       MARK C. SAVIGNAC
       JULIA SHEKETOFF
       2207 Combes Street
       Urbana, IL 61801,

             Plaintiffs.


       TERRI L. CHASE
       Jones Day
       600 Bricknell Avenue, Suite 3300
       Miami, FL 33131

       TRACI LOVITT
       Jones Day
       250 Vesey Street
       New York, NY 10281

       CHRISTOPHER DIPOMPEO
       MARY ELLEN POWERS
       Jones Day
       51 Louisiana Avenue NW
       Washington, D.C. 20001

       ANDERSON BAILEY
       Jones Day
       500 Grant Street
       Pittsburgh, PA 15219,

             Attorneys for Defendants.




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